              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                           CHARLES CAPELLA,

                                 Appellant

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-2287


                              August 23, 2024

Appeal from the Circuit Court for Pinellas County; Susan St. John,
Judge.

Howard L. Dimmig, II, Public Defender, and Jeri Delgado, Assistant
Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Tayna Alexander,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

            Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior to official publication.
